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               Exhibit E
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                                                     U.S. Department of Justice

                                                    An drew E. Le.lling
                                                    United States Attorney
                                                    District: ofMa&achwseiis


Main Reception: (617) 748-3100                      John Joseph Moakley United States Courthouse
                                                    I Courthouse Vay
                                                    Suite 9260
                                                    Boston, Mdssacliusetts022JO

                                                    April 14,2020

Franfc K tIbhaxis, Esq.
Berliner Cohen LLP
10 Almaden Boulevard, 11fh Floor
San Jose, California 95113

       Re:     United States v. Veronica Zea
               Criminal No. 20-

Ifear Mti Ubliaus:                        ,

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Veronica.Zea (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):                                                            ‘              .

        1.     Change of Plea

       : Defendant will waive Indictment and plead guilty to an Information charging her with
conspiracy to commit cyberstalking, in violation of 18 U.S.C. § 371 (Count I), and conspiracy to
obstruct justice, in violation of 18 U.S.C. § 371 (Count 2). Defendant admits that she committed
the crimes specified in the Information and is in fact guilty of these crimes.

      - 2.-    Penalties

         Defendant faces the following maximum penalties for Counts 1 and 2: incarceration for 5
years; supervised release for 3 years; a fine of $250,000; a mandatory special assessment of $100;
restitution; and forfeiture to the extent charged in the Information.

       3.      Sentencing Guidelines

        The parties agree, based on the following calculations, that Defendant’s total “offense
fevei”'under th® Girfdolfaes is W.

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       The parties agree that Counts 1 and 2 group as closely related counts. U.S.S.G. §§ 3CT.1,
Application Note 8 and 3D 1.2(c).

       The parties further agree that, because Defendant’s cyberstalking conspiracy involved two
victims, Victim 1 and Victim 2, the grouped conspiracy counts are divided into two Groups for
sentencing purposes. U.S.S.G. § 3D1.2, Application Note. 8.

       Victim 1 Group

              a) Defendant’s base offense level is 18 (USSG §§ 2X1.1,2A6.2(a));

              b) Defendant’s offense level is increased by 2 levels, because the offense involved
                 a pattern of activity involving threatening and harassing Victim 1 (USSG
                 §2AO(bXl));

              c) Defendant’s offense level is increased by 2 levels, because Defendant ■willfully
                 obstructed and impeded, and attempted to obstruct and impede, the
                 administration of justice with respect to the investigation of the cyberstalking
                 conspiracy (USSG § 3C 1.1); and

              d) Defendant’s offense level is decreased by 2 levels, because Defendant was a
                 minor participant in the charged criminal activity.

The offense level applicable to the Victim 1 Group is 20 (USSG § 3D1.3).

       Victim 2 Group

              a) Defendant’s base offense level is 18 (USSG §§ 2X1.1,2A6.2(a});

              b) Defendant’s offense level is increased by 2 levels, because the offense involved
                 a pattern of activity involving threatening and harassing Victim 2 (USSG
                 §2A6.2(b)(l));     .                                                    /

              c) Defendant’s offense level is increased by 2 levels, because the defendant
                 willfully obstructed and impeded, and attempted to obstruct and impede, the
                 administration of justice with respect to the investigation of the cyberstalking
                 conspiracy (USSG §3C 1.1); and

              d) Defendant’s offense level is decreased by 2 levels, because Defendant was a
                 minor participant in the charged criminal activity (USSG § 3B1.2(b)).

The offense level applicable to the Victim 2 Group is 20 (USSG §3D1.3).

     The combined offense level for the Victim 1 Group and the Victim 2 Group is 22
(USSG § 3D1.4).

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       Defendant’s offense level is decreased by 3 levels, because Defendant has accepted
responsibility for Defendant’s crime (USSG § 3EL1).

       Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw her guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

        Defendant also understands that the government will object to any reduction in her sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (herself or through counsel)
indicates that she does not fully accept responsibility for having engaged in tire conduct underlying
each of the elements of the crimes to which she is pleading guilty; or (b) by the time of sentencing.
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelmes

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case,

       4,    ' Sentehca Recommendatioh

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) Inmceration for 30 months;

               b) a fine within the Guidelines sentencing range as calculated by the parties, unless
                  the Court finds that Defendant is not able, and is not likely to become able, to
                  pay a fine;

               c)     fnonths of supervised- release;

               d) a mandatory special assessment of$200, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing; and

               e) restitution in an amount to be determined at sentencing.

       5.      Waiver of Appellate Rights and Challenges to Conviction or Sentence

         Defendant has the right to challenge her conviction and sentence on “direct appeal.” This
means that Defendant has the right to ask a higher court (the “appeals court”) to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances. Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
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that her conviction or sentence should be overturned.

       Defendant understands that she has these rightes but now agrees to give: thern up.
Specifically, Defendant agrees that:

               a) She will not challenge her conviction on direct appeal or in any other
                  proceeding, including in a separate civil lawsuit; and

               b) She will ftot challenge any prison sentence of 31- months ox less or any eon®
                  orders relating to forfeiture, restitution, fines or supervised release. This
                  provision is binding even if the Court’s Guidelines analysis is different than the
                  one in this Agreement.

       The U.S. Attorney agrees that, regardless of how the Court calculates Defendant’s
sentence, the U.S. Attorney will not appeal any sentence of imprisonment of 30 months or more,

        Defendant understands that, by agreeing to the above, she is agreeing that her conviction
and sentence (to the extent set forth in subparagraph (b), above) will be final when the Court issues
a written judgment after the sentencing hearing in this case. That is, after the Court issues a written
judgment Defendant will lose the right to appeal or otherwise challenge her conviction and
sentence (to the extent set forth in subparagraph (b), above), regardless of whether she later
changes his mind or finds new information that would have led her not to agree to give up these
rights in the first place.

      Defendant acknowledges that she is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that her lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have her conviction or sentence overturned.

          6.   Civil Liability

        This Plea Agreement does not affect any civil liability,, including any tax liability,
Defendant has incurred or may later incur due to her criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

               Breach of Plea Agreement

        Defendant understands that if she breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw her guilty plea. Defendant’s breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
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        If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant’s statements, and any information or materials
she provided to the government during investigation or prosecution of her case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

        Finally, if Defendant breaches any provision of this Agreement, she thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

         &     Who is Bound by Plea Agreement

        This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

         9.    Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written, memorandum signed
by both parties, or through proceedings in open.court.
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       If this letter accurately reflects the agreement between the U.S . Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorneys Amy Harman
Burkart and Kosto.                                                                   . .

                                                     Sincerely,

                                                     ANDREW B. LELLING
                                                     United States Attorney




                                                      DAVID J. D’AUDIO
                                                      Assistant U.S. Attorneys

                       ACKNOWLEDGMENT OF PLEA AGREEMENT

       I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney’s Office for the District of Massachusetts. There arc no
unwritten agreements between me and the United States Attorney’s Office, and no United States
government official has made any unwritten promises or representations to me in comeetion with
my guilty plea. I have received no prior offers to resolve this case.

       I understand the crimes I am pleading guilty to, and the maximum penalties for those
crimes. 1 have discussed the Sentencing Guidelines with my lawyer and I understand the
sentencing ranges that may apply.

       I am' satisfied with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charge against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.;

       I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
these offenses. I believe this Agreement is hi my best interest.



                                                 Veronica Zea
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       I certify that Veronica Zea has read this Agreement and that we have discussed what it
means. I believe Veronica Zea understands the Agreement anits entering into it freely, voluntarily,
hnd knowingly. I also certify that the U.S.        has noVpxtendcd any other offers regarding a
change of plea in this case,                  /             y/
                                                 Frank it"Ubhkus, Esq.
           (_ r .                                Attorney for Defendant
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                                                     U.S. Department of Justice

                                                     Andrew E. Lelling
                                                     Unit(!d States Attorney
                                                     District ofMassachusetts


Main Reception: (617) 748-3100                       John Joseph Moakley United States Courthouse
                                                     1 Courthouse Way
                                                     Suite 9200
                                                     Boston, Massachusetts 02210

                                                     April 14, 2020

Miranda Kane, Esq.
Julia Breyer, Esq.
Kane + Kimball LLP
803 Hearst Avenue
Berkeley, California 94710

       Re:      United States v. Brian Gilbert
                Criminal No. 20-

Dear Counsel:

        The United States Attorney for the District of Massachusetts ("the U.S. Attorney") and youi'
client, Brian Gilbert ("Defendant"), agree as follows, pursuant to Federal Rule of Criminal
Procedure l l(c)(l)(B):

       1.       Change of Plea

       Defendant will waive Indictment and plead guilty to an Information charging him with
conspiracy to commifcyberstalking, in violation of U.S.C. § 371 (Count 1), and conspiracy to
tamper with a witness, in violation of 18 U.S.C. § 371 (Count 2). Defendant admits that he
committed the crimes specified in the Inf01mation and is in fact guilty of these crimes.

       2.       Penalties

         Defendant faces the following maximum penalties on each count: incarceration for 5 years;
supervised release for 3 years; a fine of $250,000; a mandatory special assessment of $100;
restitution; and forfeiture to the extent charged in the Information.

       3.       Sentencing Guidelines

      The U.S. Attorney will take the position, based on the following calculations, that
Defendant's total "offense level" under the Guidelines is 21.
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argue that neither the Victim 1 Group nor the Victim 2 Group should receive an enhancement for
a pattern of activity involving threatening and harassing.

      The parties agree that Defendant's combined offense level is decreased by 3 levels, because
Defendant has acceptedresponsibility for Defendant's crimes (USSG § 3El.1).

       Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Comi imposes.

        Defendant also understands that the government will object fo any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (himself or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crimes to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       If, after signing this Agreement, Defendant's criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward depaiiure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete infmmation regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) Incarceration for 37 months, or incarceration for 30 months If the Court does
                  not apply an enhancement under USSG § 2A6.2(b)(l);

               b) a fine within the Guidelines sentencing range as calculated by the parties, unless
                  the Comi finds that Defendant is not able, and is not likely to become able, to
                  pay a fine;

               c) 12 months of supervised release;

               d) a mandatory special assessment of $200, which Defendant must pay to the Clerk
                  of the Comi by the date of sentencing; and

               e) restitution in an amount to be dete1mined at sentencing.

       Defendant reserves the right to argue for any depaiiure from the Guidelines that is not
inconsistent with the agreed upon Guidelines calculation above, or for a variance, and the U.S.
Attorney reserves the right to oppose such arguments.

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                                                    U.S. Department of Justice

                                                    Andrew E. Lelling
                                                    United States Attorney
                                                    District of Massachusetts


Main Reception: (617) 748-3100                      John Joseph Moakley United States Courthouse
                                                    1 Courthouse Way
                                                    Suite 9200
                                                    Boston, Massachusetts 02210

                                                    June 30, 2020

Susan G. Winkler, Esq.
Winkler Law, LLC
120 Holmes Street, Unit 313
Quincy, Massachusetts 02171

       Re:      United States v. Philip Cooke
                Criminal No. 20-

Dear Counsel:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Philip Cooke (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

       1.       Change of Plea

       Defendant will waive Indictment and plead guilty to an Information charging him with
conspiracy to commit cyberstalking, in violation of 18 U.S.C. § 371 (Count 1), and conspiracy to
commit witness tampering, in violation of 18 U.S.C. § 371 (Count 2). Defendant admits that he
committed the crimes specified in the Information and is in fact guilty of these crimes.

       2.       Penalties

         Defendant faces the following maximum penalties on each count: incarceration for 5 years;
supervised release for 3 years; a fine of $250,000; a mandatory special assessment of $100;
restitution; and forfeiture to the extent charged in the Information.

       3.       Sentencing Guidelines

      The U.S. Attorney will take the position, based on the following calculations, that
Defendant’s total “offense level” under the Guidelines is 21.
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       The parties agree that Count 1 (for cyberstalking conspiracy) and Count 2 (for obstruction
conspiracy) group as closely related counts. USSG §§3C1.1, Application Note 8 and 3D1.2(c).

       The parties agree that, because Count 1’s cyberstalking conspiracy involved two victims,
Victim 1 and Victim 2, the grouped count is divided into two Groups for sentencing purposes.
USSG §3D1.2, Application Note 8.

        The U.S. Attorney will take the position that the following calculations are appropriate as
to each group:

       Victim 1 Group

               a) Defendant’s base offense level is 18 (USSG §§2X1.1, 2A6.2(a));

               b) Defendant’s offense level is increased by 2 levels, because the offense involved
                  a pattern of activity involving threatening and harassing Victim 1 (USSG
                  §2A6.2(b)(1));

               c) Defendant’s offense level is increased by 2 levels, because Defendant willfully
                  obstructed and impeded, and attempted to obstruct and impede, the
                  administration of justice with respect to the investigation of the cyberstalking
                  conspiracy (USSG §3C1.1); and

The offense level applicable to the Victim 1 Group is 22 (USSG §3D1.3).

       Victim 2 Group

               a) Defendant’s base offense level is 18 (USSG §§2X1.1, 2A6.2(a));

               b) Defendant’s offense level is increased by 2 levels, because the offense involved
                  a pattern of activity involving threatening and harassing Victim 2 (USSG
                  §2A6.2(b)(1));

               c) Defendant’s offense level is increased by 2 levels, because the defendant
                  willfully obstructed and impeded, and attempted to obstruct and impede, the
                  administration of justice with respect to the investigation of the cyberstalking
                  conspiracy (USSG §3C1.1); and

The offense level applicable to the Victim 2 Group is 22 (USSG §3D1.3).

     The combined offense level for the Victim 1 Group and the Victim 2 Group is 24.
(USSG §3D1.4).

        Defendant agrees with the above calculations, except that Defendant reserves the right to
argue that neither the Victim 1 Group nor the Victim 2 Group should receive an enhancement for

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a pattern of activity involving threatening and harassing.

      The parties agree that Defendant’s combined offense level is decreased by 3 levels, because
Defendant has accepted responsibility for Defendant’s crimes (USSG §3E1.1).

       Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

        Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (himself or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crimes to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration for 30 months, or, if the Court adopts a Guidelines calculation
                  resulting in a lower total offense level than that posed by the U.S. Attorney, at
                  the low end of the Guidelines sentencing range as calculated by the Court;

               b) a fine within the Guidelines sentencing range as calculated by the parties, unless
                  the Court finds that Defendant is not able, and is not likely to become able, to
                  pay a fine;

               c) 12 months of supervised release;

               d) a mandatory special assessment of $200, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing; and

               e) restitution in an amount to be determined at sentencing.

       Defendant reserves the right to argue for any departure from the Guidelines that is not
inconsistent with the agreed upon Guidelines calculation above, or for a variance, and the U.S.
Attorney reserves the right to oppose such arguments.

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       5.        Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge his conviction and sentence on “direct appeal.” This
means that Defendant has the right to ask a higher court (the “appeals court”) to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

       Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

                 a) He will not challenge his conviction on direct appeal or in any other proceeding,
                    including in a separate civil lawsuit; and

                 b) He will not challenge any prison sentence of 46 months or less or any court
                    orders relating to forfeiture, restitution, fines or supervised release. This
                    provision is binding even if the Court’s Guidelines analysis is different than the
                    one in this Agreement.

       The U.S. Attorney agrees that, regardless of how the Court calculates Defendant’s
sentence, the U.S. Attorney will not appeal any sentence of imprisonment of 30 months or more.

         Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence (to the extent set forth in subparagraph (b), above) will be final when the Court issues
a written judgment after the sentencing hearing in this case. That is, after the Court issues a written
judgment, Defendant will lose the right to appeal or otherwise challenge his conviction and
sentence (to the extent set forth in subparagraph (b), above), regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in
the first place.

      Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned.

            6.   Civil Liability

        This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

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         7.    Breach of Plea Agreement

        Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant’s breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

        If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant’s statements, and any information or materials
he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

        Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

         8.    Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

         9.    Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

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       If this letter accurately reflects the agn.:cmcnt between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this lt:ttcr to Assistant U.S. Attorneys David D'Addio and
Seth Kosto.

                                                     Sincerely.

                                                     ANDREW E. LEI.LING



                                             By:
                                                         '.Pl IEN 1-:. FRANK
                                                      Chier. Securities. Financial & Cybcr fraud Unit



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                                                      D/\ YID .I. l)"ADDIO
                                                      Assistant U.S. Attorneys




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